           IN THE DISTRICT COURT OF THE UNITED STATES
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
                            1:09CR23-6

UNITED STATES OF AMERICA,                              )
                                                       )
Vs.                                                    )               ORDER
                                                       )
PHILLIP EUGENE HILL.                                   )
__________________________________                     )

        THIS MATTER is before the court upon defendant’s Motion to Relieve

Counsel (#243). On January 8, 2010, the undersigned conducted a hearing from

which the United States Attorney was excused and the record sealed in order to

preserve the attorney-client privilege of defendant inasmuch as confidential

communications were likely to discussed. As a result of such proceeding, the court

is convinced that counsel has been providing Mr. Hill with excellent and effective

representation. Further, the court finds that the attorney-client relationship remains

intact and that it would be in defendant’s best legal interests to move forward with

present counsel. A sentencing issue has, however, arisen, and will require counsel to

conduct a further investigation and may be the basis for filing an additional objection

to the Presentence Report. To do so, however, will require a reopening of the time

for filing objections and a brief extension. The court finds that the interests of justice




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require the granting of such leave.1

       Counsel for defendant is advised that if his investigation does not, in his

professional judgment, provide a sufficient factual or legal basis for the objection and

defendant desires that the objection be filed despite such support, that he is granted

leave under the reasoning of Anders v. California, 386 U.S. 738 (1967), to file such

objection on his behalf in a manner similar to that employed under Anders. In turn,

defendant is reminded that the district court is permitted to rely on information

contained in the PSR in making its sentencing findings, United States v. Love, 134

F.3d 595, 606 (4th Cir.1998), and that if defendant believes that any information in

the PSR is incorrect, he will need to come forward with evidence in admissible form

which he believes shows such information to be incorrect, as mere objections are

insufficient.

       Having considered defendant’s Motion to Relieve Counsel and reviewed the

pleadings, and it appearing that good cause has been shown for extending the period

for objections, the court enters the following Order.




       1
                While the undersigned does not usually consider motions that involve sentencing,
the district court has delegated this motion due to an enormous workload.

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                                     ORDER

      IT IS, THEREFORE, ORDERED that defendant’s Motion to Relieve

Counsel (#243) is DENIED, and defendant is allowed up to and inclusive of January

22, 2010, to file any additional objections he may have to the PSR.



                                         Signed: January 14, 2010




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